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 4
   ATTORNEYS FOR DEFENDANT
 5 DERIAN EIDSON

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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-0234 TLN

12                                 Plaintiff,
                                                         STIPULATION AND ORDER CONTINUING
13                          v.                           STATUS CONFERENCE

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16
     DERIAN EIDSON,
17                                 Defendants.

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21          Defendant Derian Eidson, by and through her court-appointed counsel, Robert M. Wilson, and
22 the Government, by and through Matthew Segal, Assistant United States Attorney, stipulates and request

23 that the hearing currently set in this matter on November 1, 2018, be continued to November 15, 2018.

24 The parties stipulate this matter is on remand from the Ninth Circuit and no Speed Trial waivers are

25 necessary. The parties further stipulate that counsel for the defendant need additional time to review the

26 record in this matter, to consult with prior counsel and to consult with his client. Additionally, counsel

27 for defendant Derian Eidson will be out of town on November 1, 2018, and unavailable. Good cause

28 appearing, the parties seek an Order from this court continuing this matter to November 15, 2018, at

                                                         1
               Case 2:11-cr-00234-TLN Document 517 Filed 10/30/18 Page 2 of 2


 1 9:30 a.m.

 2

 3         October 30, 2018                             /s/ Robert M. Wilson
                                                       ROBERT M. WILSON
 4                                                     Attorney for Derian Eidson

 5
           October 30, 2018                             /s/ Matthew Segal
 6                                                     MATTHEW SEGAL
                                                       Attorney for the United States
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 8
                                                IT IS SO ORDERED.
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           Good cause appearing, the status conference presently set for November 1, 2018, at 9:30 A.M., is
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12 hereby continued to November 15, 2018, at 9:30 A.M.

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     Dated: October 30, 2018
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                                                          The Honorable Troy L. Nunley
17                                                        UNITED STATES DISTRICT COURT JUDGE
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